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11    SANDRA EDMONDS
12
13                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
14
15
      SANDRA EDMONDS, an Individual,          Case No.
16
               Plaintiff,
17
                                              COMPLAINT FOR VIOLATIONS
          v.
18                                            OF: AMERICANS WITH
      BIG LOTS STORES, INC., an Ohio          DISABILITIES ACT OF 1990, 42
19
      Corporation; and DOES 1-10,             U.S.C. § 12181, et seq.; UNRUH
20                                            CIVIL RIGHTS ACT, CALIFORNIA
               Defendants.                    CIVIL CODE § 51, et seq.
21
22
23                                            DEMAND FOR JURY TRIAL

24
25
26
27
28

                                       COMPLAINT
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 1          Plaintiff Sandra Edmonds (hereinafter referred to as “Plaintiff”) complains of
 2
      Defendant Big Lots Stores, Inc., an Ohio Corporation; and Does 1-10 (each,
 3
 4    individually a “Defendant,” and collectively “Defendants”), and alleges as follows:

 5                                       I.     PARTIES
 6
            1.     Sandra Edmonds suffers from osteoarthritis. Her movement and
 7
 8    walking are greatly impaired. The arthritis affects her knees and lower back
 9    especially severely. The cartilage in both her knees has eroded. The bones in her
10
      knees grind on each other, causing pain and impairment. She relies on a walker or
11
12    cane on a daily basis for mobility. Plaintiff is qualified as being disabled pursuant
13    to the California Unruh Civil Rights Act (UCRA), §§ 51, et seq., 52, et seq., 42
14
      U.S.C. § 12102(2)(A), and other statutory laws which protect the rights of “disabled
15
16    persons.” Plaintiff is a disabled person entitled to the protections of the California
17    Unruh Civil Rights Act (UCRA) (see Cal. Civ. Code §§ 51, et seq., 52, et seq.), the
18
      Americans with Disabilities Act (ADA) (see 42 U.S.C. § 12102, et seq.), and other
19
20    statutory laws which protect the rights of “disabled persons.” Plaintiff has been
21
      issued a blue permanent Disabled Person Parking Placard, by the State of
22
      California. Plaintiff is a California resident with physical disabilities.
23
24          2.     Defendant Big Lots Stores, Inc., an Ohio Corporation, owned the
25
      property (the “Property”), located at 2155 Pacific Coast Hwy, Lomita, CA 90717.
26
            3.     There is a business establishment on the Property named “Big Lots,”
27
28
                                            2
                                        COMPLAINT
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 1    (hereinafter, “the business”).
 2
            4.     The business is a public accommodation as defined by 42 U.S.C. §
 3
 4    12181(7).

 5          5.     DOES 1 through 10 were at all relevant times lessors, lessees, property
 6
      owners, subsidiaries, parent companies, affiliates, employers, employees, agents,
 7
 8    corporate officers, managers, principles, and/or representatives of Defendants.
 9    Plaintiff is unaware of the true names and capacities of Defendants sued herein as
10
      DOES 1 through 10, inclusive, and, therefore, sues those Defendants by fictitious
11
12    names. Plaintiff requests that the Court grant leave to amend this complaint to
13    allege the true names and capacities when determined by whatever source.
14
            6.     Defendants, at all relevant times, were relevant to this action; were the
15
16    owners, franchisees, franchisors, lessees, lessors, general partners, limited partners,
17    agents, affiliates, employees, employers, representative partners, subsidiaries,
18
      partner companies, and/or joint venturers of the remaining Defendants; and were
19
20    acting within the course and scope of that relationship. Upon information and
21
      belief, Plaintiff alleges that each of the Defendants gave consent to, ratified, and/or
22
      authorized the acts alleged of each of the remaining Defendants.
23
24          7.     Plaintiff visited the public accommodations owned, leased, and/or
25
      operated by Defendants with the intent to purchase and/or use the goods, services,
26
      facilities, privileges, advantages, and/or accommodations offered by Defendants.
27
28
                                           3
                                       COMPLAINT
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 1                              II.    JURISDICTION & VENUE
 2           8.     This Court has subject matter jurisdiction over this action pursuant to
 3
      28 U.S.C. § 1331 and 28 U.S.C. § 1343(a)(3) & (a)(4) for violations of the ADA.
 4
 5           9.     Pursuant to supplemental jurisdiction, an attendant and related cause of
 6    action, arising from the same nucleus of operative facts, and arising out of the same
 7
      transactions, is also brought under the UCRA, which expressly incorporates the
 8
 9    ADA.
10
             10.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because
11
      the real property which is the subject of this action is located in this district, and
12
13    Plaintiff’s cause of action arose in this district.
14
                                            III.   FACTS
15
             11.    The Property is a facility which is open to the public and includes
16
17    business establishments.
18
             12.    The Property has been newly constructed and/or underwent
19
      remodeling, repairs, or alterations since 1992. Defendants have failed to comply
20
21    with California access standards which applied at the time of each new construction
22
      and/or alteration, and/or failed to maintain accessible features in operable working
23
      condition.
24
25           13.    Plaintiff visited the Property during the relevant statutory period on
26
      three separate occasions, in January 2020 and December 2020 to patronize the
27
28
      business on the Property.
                                             4
                                         COMPLAINT
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 1          14.    Defendants did not offer persons with disabilities with equivalent
 2
      facilities, privileges, and advantages offered by Defendants to other patrons.
 3
 4          15.    Plaintiff encountered barriers, both physical and intangible, that

 5    interfered with, and denied, Plaintiff the ability to use and enjoy the goods, services,
 6
      privileges, and/or accommodations offered at the Property.
 7
 8          16.    Parking is one of the facilities, privileges, and advantages offered by
 9    Defendants to patrons of the Property.
10
            17.    However, there was no accessible parking for disabled patrons at the
11
12    Property. The parking spaces designated for disabled persons did not comply with
13    the ADA.
14
            18.    The parking area did not comply with the latest California Building
15
16    Code (CBC).
17          19.    When Plaintiff visited the Property, he experienced access barriers
18
      related to parking, signage, entryways, and paths of travel.
19
20          20.    Plaintiff encountered the following barriers, conditions, and/or
21
      violations at the Property:
22
            Big Lots and the Property it sits on needs maintenance work. There are
23
24          multiple areas that do not comply with the ADA requirements. The
25
            designated disabled parking spaces and the adjacent loading/unloading
26
            access aisles have sloping issues and faded paint. The dimensions of the
27
28
                                           5
                                       COMPLAINT
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 1          parking spaces and access aisles also do not comply with the ADA. The
 2
            path of travel from the designated disabled parking spaces and access
 3
 4          aisles leading to the entrance of the business run into cracks and slopes.

 5          Multiple shopping aisles inside of the business are too narrow and this
 6
            creates tipping hazards for walker users such as Plaintiff. The Property
 7
 8          further lacks ADA-compliant signage.
 9
10
            VIOLATION of 2010 California Building Code (CBC) § 1114B.1.2; 1991
11
12          ADA Standards for Accessible Design (ADAS) § 4.3.2(1). (Exterior route
13          of travel.) An accessible route of travel is not provided to all entrances and
14
            portions of the building, entrances and/or between the building and a public
15
16          way.
17
18
            VIOLATION of 2010 CBC § 1127B.1. (No accessible exterior route.)
19
20          There is no accessible path of travel into the building entrances. There is no
21          safe way for Plaintiff to travel from the parking area to the entrance of the
22
            Property.
23
24
25
26
            VIOLATION of 2010 CBC § 1127B.1; 1991 ADAS § 4.6.2(1).
27
28
                                          6
                                      COMPLAINT
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 1          (Directional signage.) There is no directional signage showing an accessible
 2
            path of travel.
 3
 4
 5          VIOLATION of 2010 CBC § 1129B.4. (Off-street unauthorized parking
 6
            sign.) The tow away sign(s) (white sign stating that “UNAUTHORIZED
 7
 8          VEHICLES PARKED IN DESIGNATED ACCESSIBLE SPACES …
 9          WILL BE TOWED AWAY”) must be posted in a conspicuous place at each
10
            entrance to an off-street parking lot (facility), or immediately adjacent to and
11
12          visible from each designated parking stall (space). The requisite sign(s) is
13          covered with vandalism, making it difficult for Plaintiff and other patrons to
14
            see and read the sign. The sign vandalized and has been left vandalized.
15
16
17          VIOLATION of 2010 CBC § 1129B.4. (Off-street unauthorized parking
18
            sign – towed vehicle information.) The tow away sign (white sign stating
19
20          that “UNAUTHORIZED VEHICLES PARKED IN DESIGNATED
21          ACCESSIBLE SPACES … WILL BE TOWED AWAY”) does not state the
22
            required information regarding the tow company and telephone number. The
23
24          sign is further covered with vandalism, making it difficult for Plaintiff and
25
            other patrons to see and read the sign. The sign vandalized and has been left
26
            vandalized.
27
28
                                          7
                                      COMPLAINT
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 1
 2
            VIOLATION of 2010 ADAS 403.3. (Path of travel- cross slope.) The cross
 3
 4          slope of the accessible path of travel is greater than two (2) percent.

 5
 6
            VIOLATION of 2010 CBC § 1129B.3; 1991 ADAS § 4.6.3; 2010 ADAS §
 7
 8          502.2. (Faded paint – accessible space lines.) The paint used for the
 9          designated accessible parking space is so worn and aged that it cannot be
10
            seen. This makes it unclear where the actual parking space is. The required
11
12          width dimensions are not painted as required. This makes it difficult for
13          Plaintiff to park in the designated space.
14
15
16          VIOLATION of 2010 CBC § 1129B.3; 2010 ADAS § 502.2. (Width of
17          space). The parking space designated for disabled persons measures less than
18
            nine (9) feet wide. This makes it difficult for Plaintiff to park in the
19
20          designated space.
21
22
            VIOLATION of 2010 CBC § 1129B.3; 2010 ADAS § 502.2. (Length of
23
24          space.) The designated disabled parking space measures less than eighteen
25
            (18) feet long, which makes it difficult for Plaintiff to park in the designated
26
            space.
27
28
                                           8
                                       COMPLAINT
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 1
 2
            VIOLATION of 2010 CBC § 1133B.7.1; 1991 ADAS § 4.6.8. (Abrupt
 3
 4          changes in level.) The path of travel from the space reserved for disabled

 5          patrons has an uneven ground surface with changes in level exceeding one-
 6
            half inch.
 7
 8
 9          VIOLATION of 2010 CBC § 1129B.3.4; 1991 ADAS § 4.6.3; 2010 ADAS
10
            § 502.4. (Slope of parking space.) The designated accessible parking space
11
12          has a running slope greater than two (2) percent.
13
14
            VIOLATION of 2010 CBC § 1129B.3.4; 1991 ADAS § 4.6.3; 2010 ADAS
15
16          § 502.4. (Slope of adjacent access aisle.) The adjacent loading/unloading
17          access aisle for the space reserved for disabled persons has a running slope
18
            greater than two (2) percent.
19
20
21          VIOLATION of 1991 CA Title 24 § 1129B.4.2; 2010 CBC § 1129B.3;
22
            2010 ADAS § 4.6.3. (Length of adjacent access aisle.) The adjacent access
23
24          aisle to the designated accessible parking space is less than eighteen (18) feet
25
            long. This makes it difficult for Plaintiff to use the adjacent space to safely
26
            disembark from the car.
27
28
                                           9
                                       COMPLAINT
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 1
 2
             VIOLATION of 1991 CA Title 24 § 1129B.4.2; 2010 CBC § 1129B.3;
 3
 4           2010 ADAS § 4.6.3. (Width of adjacent access aisle.) The adjacent

 5           loading/unloading access aisle to the designated disabled parking space is
 6
             less than five (5) feet wide. This makes it difficult for Plaintiff to use the
 7
 8           adjacent space to safely disembark from the car.
 9
10
             VIOLATION of 2010 CBC § 1129B.3.1; 1991 ADAS § 4.6.3; 2010 ADAS
11
12           § 502.3. (No loading/unloading access aisle.) The adjacent loading/unloading
13           access aisle for the accessible parking space is missing entirely. This makes it
14
             difficult for Plaintiff to use the adjacent space to safely disembark from the
15
16           car.
17
18
             VIOLATION of 2010 CBC § 1129B.4. (Surface signage.) The paint used for
19
20           the designated accessible parking spaces is faded and cannot be seen. There is
21           no compliant surface signage at the designated disabled parking space. The
22
             International Access Symbol is so faded and worn that it cannot be read. The
23
24           street surface (pavement) signage is unreadable because the paint has faded.
25
26
             VIOLATION of 2010 CBC § 1129B.3.1. (“NO PARKING” – ground
27
28
                                           10
                                        COMPLAINT
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 1           surface sign.) The words “NO PARKING” is fading from the adjacent
 2
             loading/unloading access aisles. As a result, non-disabled patrons park in the
 3
 4           loading/unloading access aisles, blocking Plaintiff from being able to use the

 5           access aisles. Cars and trucks park or block the access aisles because the
 6
             paint is faded and difficult to read.
 7
 8
 9           VIOLATION 2010 CBC § 1129B.4; 1991 ADAS § 4.6.4; 2010 ADAS §
10
             502.6. (Sign missing – accessible parking space.) The sign identifying one of
11
12           the designated disabled accessible parking spaces is missing entirely.
13
14
             VIOLATION 2010 CBC § 1129B.4. (Sign missing – $250 fine.) The sign
15
16           warning of the minimum $250 fine for unauthorized parking in one of the
17           designated disabled accessible parking space is missing entirely.
18
19
20           VIOLATION of 2010 CBC § 1129B.4; 1991 ADAS § 4.6.4. (Sign off-
21           center.) Although there is a sign showing where the designated accessible
22
             space parking is, it is not centered as required, but off to the side. The sign
23
24           was posted away from the middle of the parking space, rather than centered
25
             at the space as required. This makes it more difficult for people and parking
26
             enforcement to determine which space is intended for the sole use of disabled
27
28
                                           11
                                        COMPLAINT
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 1           persons.
 2
 3
 4           VIOLATION of 2010 ADAS § 502.3. (Access aisles.) The adjacent

 5           loading/unloading access aisle must adjoin an accessible route to an
 6
             accessible entrance. It does not.
 7
 8
 9           VIOLATION of 2010 CBC § 1133B.7.4; 2010 ADAS § 303.3. (Path from
10
             parking – uneven surface.) The path of travel from the designated disabled
11
12           parking spaces to the entrance has damaged ground which is uneven. The
13           damaged ground has pavement distresses. Parts of the ground surface are not
14
             flush. The surface of the ground within the designated path of travel leading
15
16           into the entrance is not flat. This makes traveling in this area difficult. The
17           path of travel from the designated disabled parking spaces to the entrance
18
             runs into these pavement distresses which have caused changes in level
19
20           greater than one-half inch, but no ramp is provided. These steep changes in
21           level create uneven surfaces. The types of pavement distresses which exist
22
             include but are not limited to: cracking, asphalt bleeding, raveling, stripping,
23
24           and depressions. These pavement distresses are made worse and exacerbated
25
             by designs which do not follow the ADAAG. These areas should be fixed
26
             immediately because they are also a tripping and falling hazard.
27
28
                                          12
                                       COMPLAINT
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 1           VIOLATION of 2010 CBC § 1133B.7.1; 1991 ADAS § 4.3.8. (Walks/
 2
             sidewalks – changes in level.) The walk leading into the business does not
 3
 4           have a continuous common surface because there are abrupt changes in level

 5           of more than one-half inch.
 6
 7
 8           VIOLATION of 2010 CBC § 1133B.5.1; 1991 ADAS §§ 4.3.7, 4.8.1, 2010
 9           ADAS § 403.3, 2016 CBC § 11B-403.3. (Ramps.) The accessible route of
10
             travel has a slope greater than 1:20 (5%) but is not a compliant ramp.
11
12
13           VIOLATION of 2010 CBC § 1133B.5.2. (Minimum width of ramps.) The
14
             ramps do not have a minimum clear width of forty-eight (48) inches.
15
16
17           VIOLATION of 2010 CBC § 1133B.5.3; 1991 ADAS § 4.8.2. (Least
18
             possible slope of ramp.) The least possible slope is not used for the ramp
19
20           leading into the business.
21
22
             VIOLATION of 2010 CBC § 1133B.5.3.1; 1991 ADAS § 4.8.6. (Maximum
23
24           cross slope of ramp.) The cross slope of the ramp was greater than 2%.
25
26
             VIOLATION of 2010 CBC § 1133B.5.4; 1991 ADAS § 4.8.4. (Level ramp
27
28
                                             13
                                          COMPLAINT
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 1           landings.) Level ramp landings must be provided at the top and bottom of
 2
             each ramp. They are not provided.
 3
 4
 5           VIOLATION of 2010 CBC § 1133B.5.4; 1991 ADAS § 4.8.4(1). (Width of
 6
             ramp landings.) The landing of ramps must be at least as wide as the ramp
 7
 8           run leading to it, but they are not.
 9
10
             VIOLATION of 2010 CBC § 1133B.5.4.2; 1991 ADAS §§ 4.8.4(2),
11
12           4.8.4(3). (Minimum landing width and length for top ramp landings.) The
13           ramp’s top landing is not sixty (60) inches wide and long as required.
14
15
16           VIOLATION of 2010 CBC § 1133B.5.4.2. (Minimum landing length for
17           bottom ramp landings.) The ramp’s bottom landing is not seventy-two (72)
18
             inches in length as required.
19
20
21           VIOLATION of 2010 CBC § 1133B.5.4.6; 1991 ADAS § 4.8.4(3).
22
             (Minimum landing size for change of direction in ramp.) The change of
23
24           direction in the ramp does not have a minimum landing size of 60” x 60”.
25
26
             VIOLATION of 2010 CBC § 1133B.7.4; 2010 ADAS § 303.3. (Front door
27
28
                                           14
                                        COMPLAINT
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 1           entrance threshold and weather strip changes in level.) Inside the building,
 2
             the front door entrance threshold and weather strip has changes in level
 3
 4           greater than one-half inch but provides no ramps. This makes traversing this

 5           area difficult.
 6
 7
 8           VIOLATION of 2010 CBC § 1133B.1.1.1.3; 2010 ADAS § 302.2. (Carpet.)
 9           Carpets and mats must be securely attached to a stable surface. Carpeting
10
             must be securely attached so that it does not shift or buckle against wheeled
11
12           traffic. The carpet and/or mat inside the business is not secure and can cause
13           rolling and buckling. Rolling or buckling occurs when carpet is not properly
14
             secured and makes wheelchair maneuvering very difficult. It also creates a
15
16           tripping hazard for those using walkers and canes.
17
18
             VIOLATION of 2010 CBC Section 1118B.1; ADA 4.2.1. (Lack of clear
19
20           floor space). The floor space lacked clear width of thirty-two (32) inches at
21           multiple points and thirty-six (36) inches continuously, as is required. This is
22
             true of product displays, areas around the counter, and interior paths. Plaintiff
23
24           cannot get around inside the business, because Plaintiff is blocked by product
25
             displays.
26
27
28
                                          15
                                       COMPLAINT
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 1            VIOLATION of 2010 CBC § 1122B.5;1991 ADAS § 7.2; 2010 ADAS §
 2
              904. (Transaction counters.) There is no lowered counter that is free and clear
 3
 4            of clutter for disabled persons whose line of sight is lower. There was no

 5            lowered, thirty-six (36) inches or less, transaction counter for use by persons
 6
              who cannot see high surfaces because of their disability. Without a lowered
 7
 8            transaction counter, it is difficult for Plaintiff to use the counter to conduct
 9            business at the Property.
10
              21.    Plaintiff personally encountered the foregoing barriers, conditions,
11
12     and/or violations.
13            22.    These barriers, conditions, and/or violations denied Plaintiff full and
14
       equal access, and caused her difficulty, humiliation, and/or frustration.
15
16            23.    The barriers, conditions, and/or violations existed during each of
17     Plaintiff’s visits in 2020.
18
              24.    Defendants knew that the foregoing architectural barriers prevented
19
20     access. Plaintiff will prove that Defendants had actual knowledge that the
21     architectural barriers prevented access, and that the noncompliance with the ADA
22
       Standards for Accessible Design (ADAS), ADA Accessibility Guidelines for
23
24     Buildings and Facilities (ADAAG), and/or the California Building Code (CBC)
25
       was intentional.
26
              25.    Plaintiff intends and plans to visit the Property again soon. Currently,
27
28
                                             16
                                          COMPLAINT
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 1     Plaintiff is reasonably deterred from returning to Defendants’ public
 2
       accommodation facilities because of the knowledge of barriers to equal access,
 3
 4     relating to Plaintiff’s disabilities, that continue to exist at the Property.

 5            26.    Defendants have failed to maintain in working and useable condition
 6
       those features necessary to provide ready access to persons with disabilities.
 7
 8            27.    Defendants have the financial resources (i.e., financial ability) to
 9     remove these barriers without much expense or difficulty in order to make the
10
       Property more accessible to their mobility impaired customers (i.e., disabled
11
12     persons). The removal of these barriers is readily achievable. The United States
13     Department of Justice has determined that removal of these types of barriers is
14
       readily achievable.
15
16            28.    Defendants refuse to remove these barriers.
17            29.    On information and belief, Plaintiff alleges that Defendants’ failure to
18
       remove these barriers was/is intentional, because the barriers are logical and
19
20     obvious. During all relevant times, Defendants had authority, control, and
21
       dominion over these conditions. Thus, the absence of accessible facilities was/is
22
       not a mishap; it was/is the result of intentional actions or inaction.
23
24            30.    These barriers to access are described herein without prejudice to
25
       Plaintiff citing additional barriers to access after further inspection by Plaintiff’s
26
       agents and/or experts. See Doran v 7-ELEVEN, Inc., 524 F.3d 1034 (9th Cir. 2008)
27
28
                                             17
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 1     (holding that once a plaintiff encounters one barrier at a site, a plaintiff can sue to
 2
       have all barriers that relate to his or her disability removed, regardless of whether
 3
 4     he or she personally encountered them).

 5
 6
                      IV. FIRST CAUSE OF ACTION: VIOLATION OF THE
 7
 8                      AMERICANS WITH DISABILITIES ACT OF 1990
 9                                    (42 U.S.C. § 12101, et seq.)
10
                                       (Against All Defendants)
11
12              31.    Plaintiff alleges and incorporates by reference each and every
13     allegation contained in all prior paragraphs of this complaint.
14
                32.    Title III of the ADA prohibits discrimination against any person on the
15
16     basis of disability in the full and equal enjoyment of the goods, services, facilities,
17     privileges, advantages, or accommodations of any place of public accommodation
18
       by any person who owns, leases, or operates a place of public accommodation. 42
19
20     U.S.C. § 12182(a).
21
                33.    Defendants discriminated against Plaintiff by denying her “full and
22
       equal enjoyment” and use of the goods, services, facilities, privileges, and/or
23
24     accommodations they offered during each visit, and each incident of a deterred
25
       visit.
26
                34.    The acts and omissions of Defendants herein were/are in violation of
27
28
                                             18
                                          COMPLAINT
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 1     Plaintiff’s rights under the ADA and the regulations codified at 28 C.F.R. Part 36,
 2
       et seq.
 3
 4               35.   Pursuant to the ADA, discrimination is a “failure to make reasonable

 5     modifications in policies, practices or procedures, when such modifications are
 6
       necessary to afford goods, services, facilities, privileges, advantages or
 7
 8     accommodations to individuals with disabilities, unless the entity can demonstrate
 9     that making such modifications would fundamentally alter the nature of such goods,
10
       services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §
11
12     12182(b)(2)(A)(ii).
13               36.   The ADA requires removal of architectural barriers in existing
14
       facilities where such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv)
15
16     (“discrimination includes … a failure to remove architectural barriers, and
17     communication barriers that are structural in nature, in existing facilities, … where
18
       such removal is readily achievable”). The term “readily achievable” is defined as
19
20     “easily accomplishable and able to be carried out without much difficulty or
21
       expense.” 42 U.S.C. § 12181(9). Barriers are defined by reference to the ADA
22
       Standards for Accessible Design (ADAS), found at 28 C.F.R. Part 36, including the
23
24     ADA Accessibility Guidelines for Buildings and Facilities (ADAAG), at Part 36,
25
       Appendix A.
26
                 37.   If removal of any barrier is not readily achievable, a failure to make
27
28
                                             19
                                          COMPLAINT
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 1     goods, services, facilities, or accommodations available through alternative
 2
       methods is also prohibited if the alternative methods are readily achievable. 42
 3
 4     U.S.C. § 12182(b)(2)(A)(v).

 5           38.    Defendants can remove the architectural barriers at their facility
 6
       without much difficulty or expense. Defendants violated the ADA by failing to
 7
 8     remove the barriers because removal was readily achievable. For instance, there
 9     are companies which can repaint parking areas for as little as $350. Defendants can
10
       afford such costs, which are a fraction of what Defendants receive in (rental or
11
12     business) profits in connection with such a large and expensive property.
13           39.    Alternatively, if it was not “readily achievable” for Defendants to
14
       remove barriers at their facilities, Defendants violated the ADA by failing to make
15
16     their services available through alternative methods which are readily achievable.
17           40.    On information and belief, Plaintiff alleges that the facility was altered
18
       after January 26, 1992, mandating compliance with accessibility requirements
19
20     under the ADA.
21
             41.    The ADA requires that facilities altered in a manner that affects or
22
       could affect their usability must be made readily accessible to individuals with
23
24     disabilities to the maximum extent feasible. 42 U.S.C. § 12183(a)(2).
25
             42.    Defendants altered the facilities at the Property in a manner that
26
       violated the ADA, and/or failed to make the Property readily accessible to
27
28
                                           20
                                        COMPLAINT
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 1     physically disabled persons to the maximum extent feasible.
 2
             43.    The ADA also requires reasonable modifications in policies, practices,
 3
 4     or procedures, when such modifications are necessary to afford goods, services,

 5     facilities, privileges, advantages, or accommodations to individuals with
 6
       disabilities, unless the entity can demonstrate that making such modifications
 7
 8     would fundamentally alter the nature of such goods, services, facilities, privileges,
 9     advantages, or accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
10
             44.    Defendants violated the ADA by failing to make reasonable
11
12     modifications in policies, practices, or procedures at the Property when these
13     modifications were necessary to afford (and would not fundamentally alter the
14
       nature of) the goods, services, facilities, privileges, advantages, or accommodations.
15
16           45.    Plaintiff seeks a finding from this Court that Defendants violated the
17     ADA, so that she may pursue damages under California’s Unruh Civil Rights Act.
18
             46.    Here Defendants’ failure to make sure that accessible facilities were
19
20     available to, and ready to be used by, Plaintiff was/is a violation of law.
21
             47.    Plaintiff would like to continue to frequent the Property, which is close
22
       to her home. However, she is deterred from doing so because she has been
23
24     discriminated against and is aware of accessibility barriers at the Property.
25
             48.    Among the remedies sought, Plaintiff seeks an injunction order
26
       requiring compliance with federal and state disability access laws, and remediation
27
28
                                           21
                                        COMPLAINT
     Case 2:21-cv-00580 Document 1 Filed 01/21/21 Page 22 of 25 Page ID #:22



 1     of the existing access violations (i.e., removal of the existing barriers) at the
 2
       Property.
 3
 4
 5
 6
                   V. SECOND CAUSE OF ACTION: VIOLATION OF THE
 7
 8                                UNRUH CIVIL RIGHTS ACT
 9                                   (Cal. Civ. Code §§ 51-53)
10
                                      (Against All Defendants)
11
12           49.    Plaintiff repleads and incorporates by reference, as though fully set
13     forth herein, the allegations contained in all prior paragraphs of this complaint.
14
             50.    California Civil Code § 51 states, in part: “All persons within the
15
16     jurisdictions of this state are entitled to the full and equal accommodations,
17     advantages, facilities, privileges, or services in all business establishments of every
18
       kind whatsoever.”
19
20           51.    California Civil Code § 51 also states, in part: “No business
21
       establishment of any kind whatsoever shall discriminate against any person in this
22
       state because of the disability of the person.”
23
24           52.    California Civil Code § 51(f) specifically incorporates, by reference,
25
       an individual’s rights under the ADA into the Unruh Civil Rights Act (UCRA).
26
             53.    The UCRA also provides that a violation of the ADA, or California
27
28
                                            22
                                         COMPLAINT
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 1     state accessibility regulations, is a violation of the UCRA. Cal. Civ. Code § 51(f);
 2
       see Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439 (N.D. Cal.
 3
 4     1994).

 5            54.    Defendants’ above-mentioned acts and omissions have violated the
 6
       UCRA by denying Plaintiff her rights to full and equal use of the accommodations,
 7
 8     advantages, facilities, privileges, and services they offer, on the basis of Plaintiff’s
 9     disability.
10
              55.    Defendants’ above-mentioned acts and omissions have also violated
11
12     the UCRA by denying Plaintiff her rights to equal access pursuant to the ADA; and,
13     thus, Defendants are liable for damages. See Cal. Civ. Code § 51(f), 52(a).
14
              56.    Because Defendants’ violation of the UCRA resulted in difficulty,
15
16     discomfort, and/or embarrassment for Plaintiff, Defendants are each also
17     responsible for statutory damages. See Cal. Civ. Code § 55.56(a), (c).
18
       //
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20     //
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                                         COMPLAINT
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 1           57.      Plaintiff was (actually) damaged by Defendants’ wrongful conduct.
 2
       She seeks actual damages, and statutory minimum damages of four thousand
 3
 4     dollars ($4,000) for each offense (i.e., for each occasion that Plaintiff was denied

 5     full and equal access).
 6
 7
 8                                    PRAYER FOR RELIEF
 9           WHEREFORE, Plaintiff prays for judgment against Defendants, as follows:
10
             1. For injunctive relief compelling Defendants to comply with the
11
12                 Americans with Disabilities Act and the Unruh Civil Rights Act. Note:
13                 Plaintiff is not invoking section 55 of the California Civil Code and is not
14
                   seeking injunctive relief under the Disabled Persons Act.
15
16           2. Damages under the Unruh Civil Rights Act, which provides for actual
17                 damages and statutory minimum damages of $4,000 per each offense.
18
             3. Reasonable attorney fees, litigation expenses, and costs of suit, pursuant
19
20                 to 42 U.S.C. § 12205, and Cal. Civ. Code § 52.
21                                        JURY DEMAND
22
             Plaintiff demands a trial by jury on all issues so triable.
23
24
25     Dated: January 13, 2021            THE LAW OFFICE OF HAKIMI & SHAHRIARI

26
27                                        By:   /s/ Peter Shahriari
                                                PETER SHAHRIARI, ESQ.
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                                             24
                                          COMPLAINT
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 1                                        Attorney for Plaintiff Sandra Edmonds
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                                    COMPLAINT
